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 7
                             UNITED STATES DISTRICT COURT
 8                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
      TRAVELERS PROPERTY CASUALTY                        No. 2:19-cv-1175
10    COMPANY OF AMERICA, a foreign
      insurance company,                                 COMPLAINT FOR
11                                                       DECLARATORY RELIEF
                             Plaintiffs,
                                                         (28 U.S.C. § 2201)
12                   v.

13    RUBENSTEIN’S CONTRACT CARPET,
      LLC, a Washington Limited Liability
14    Corporation; NORTH AMERICAN
      TERRAZZO, INC., a Washington
15    Corporation,

16                           Defendants.

17
            Plaintiff Travelers Property Casualty Company of America (Travelers) submits the
18
     following Complaint for Declaratory Relief pursuant to 28 U.S.C. § 2201 and Fed.R.Civ.P. 57.
19
                                            I.      PARTIES
20
            1.1     Plaintiff Travelers is a foreign insurer organized under the laws of the State of
21
     Connecticut with its principal place of business in the State of Connecticut.
22
            1.2     Defendant Rubenstein’s Contract Carpet, LLC (RCC) is a limited liability
23
     company organized under the laws of the State of Washington, with its principal place of
24
     COMPLAINT FOR DECLARATORY RELIEF – 1                             LETHER & ASSOCIATES PLLC
25                                                                1848 WESTLAKE AVENUE N, SUITE 100
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 1   business in the State of Washington.       All members of RCC are citizens of the State of

 2   Washington.

 3          1.3     Defendant North American Terrazzo, Inc. (NAT), is a corporation organized

 4   under the laws of the State of Washington, with its principal place of business in the State of

 5   Washington.

 6                               II.     JURISDICTION AND VENUE

 7          2.1     Jurisdiction is properly before this Court pursuant to 28 U.S.C. §1332, et. seq.,

 8   as complete diversity exists among the parties and the amount in controversy exceeds $75,000.

 9          2.2     The Court has jurisdiction over this declaratory judgment action pursuant to

10   28 U.S.C. § 2201 because there is an actual and justiciable controversy between the parties with

11   respect to the existence of insurance coverage under the policies of insurance issued by

12   Travelers. A judicial determination and declaration of the rights and obligations of the parties is

13   necessary and appropriate at this time because Travelers has no adequate remedy at law which

14   will resolve the current controversy.

15          2.3     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as this action

16   involves a dispute over the application of insurance coverage under policies written out of

17   Washington, events and omissions which gave rise to this claim occurred in this district, and

18   because NAT and RCC are subject to this Court’s personal jurisdiction.

19                                III.    FACTUAL BACKGROUND

20          3.1     The subject claim arises from construction at the 13 Coins Restaurant located in

21   Seattle, Washington.

22          3.2     On or about October 2, 2017, Sodo Builders, LLC (SODO), the general

23   contractor for the subject project, entered into written contracts with RCC and NAT to perform

24
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 1   original construction of the floors of the Restaurant. The subcontract required the parties to

 2   perform their work in strict compliance with the Main Contract and incorporated the terms and

 3   conditions of the Main Contract.

 4          3.6     RCC and NAT agreed in the subcontract “to provide all necessary supervision,

 5   management, services, engineering, testing, materials, labor, supplies, attachments, equipment,

 6   plant sundries, appurtenances, and/or any necessary thing required to diligently and fully

 7   perform and complete all Flooring and Finishes Works, in strict compliance with the

 8   SUBCONTRACT DOCUMENTS.                All work shall be performed in accordance with the

 9   applicable manufacturer’s instructions and industry best practices unless in conflict with the

10   SUBCONTRACT DOCUMENTS.”

11          3.7     During original construction, RCC and/or NAT purchased and installed flooring

12   pursuant to the Subcontract at 13 Coins Restaurant.

13          3.8     On January 26, 2018, RCC and/or NAT provided SODO a Guarantee of Work

14   verifying that NAT had performed all work in accordance with the Plans and Specifications for

15   the carpet installation, Resinous Epoxy Flooring, and the Stained Concrete. Further RCC

16   and/or NAT guaranteed their “work to be free from defects in workmanship or material for a

17   period of one year from the date of substantial completion (February 9, 2018) and that it would

18   make good without delay, any defects without additional costs to Owner, and agree to pay for

19   any expense, including Attorney’s fees, Architect and/or Owner cost, if incurred, as a result

20   from correcting guaranteed work.” SODO and 13 coins paid RCC and/or NAT approximately

21   $119,689 for the flooring.

22          3.9     On or about July 2018, SODO and 13 Coins alerted RCC and NAT that there

23   were alleged problems with their work. SODO notified RCC and NAT that the floor at 13

24
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 1   Coins was allegedly failing in four location (1) Main breakfast bar cook line; (2) Main

 2   breakfast bar pantry area; (3) Upstairs dishwashing area; (4) Downstairs kitchen area. SODO

 3   alerted RCC and NAT that the alleged floor failure was due to faulty material and/or incorrect

 4   installation.

 5           3.10    On September 2, 2018, NAT, 13 Coins, and SODO met and discussed a plan to

 6   move forward and correct the alleged defects. RCC and NAT allegedly failed to follow up on

 7   this meeting.

 8           3.11    On September 5, 2018, SODO sent RCC and NAT written notice of the alleged

 9   failures asking for a meeting to resolve the issues within 20 working days.

10           3.12    On September 24, 2018, SODO sent RCC and NAT written Notice of

11   Unsatisfactory Performance with photographs of the alleged failure as examples asking for a

12   response by September 26, 2018.

13           3.13    On or about the end of December 2018 or beginning of January 2019, RCC and

14   NAT agreed to dismantling of the kitchen on or about January 7, 2019 and for repair work for

15   the floors to begin shortly thereafter.

16           3.14    In reliance on RCC and NAT’s representation, SODO incurred costs to

17   dismantle the 13 Coins Restaurant incurring costs to allow NAT to replace the defective

18   flooring. SODO alleges that it incurred at least $181,548.71 in costs to prepare 13 Coins for

19   the warranty replacement by RCC and NAT while allowing 13 Coins to remain partially open

20   for business.

21           3.15    In addition, 13 Coins Restaurant service was allegedly disrupted and it claims to

22   have lost revenue during the replacement of the floors by NAT.

23           3.16    On December 3, 2018, RCC and NAT sent correspondence to insurance broker

24
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 1   Dick Davis, stating as follows:

 2                    Dick,

 3                    Want to advise of a potential claim on a project we did at the new
                      13 Coins restaurant in the 255 Building adjacent to the Century
 4                    Link Field. It involves a failure of the epoxy flooring in the
                      kitchen, and is in the range of $400k-$500k including replacement
 5                    materials and labor, removal and replacement of kitchen
                      equipment, HVAC, and lost business.
 6
                      Please advise what we need to do at this point.
 7
                      Randy Rubenstein.
 8
            3.17      On December 4, 2018, NAT and RCC tendered the 13 Coins Restaurant loss to
 9
     Travelers. Travelers promptly acknowledged receipt of the claim and began its coverage
10
     investigation.
11
                                   IV.     POLICIES OF INSURANCE
12
     A.     Identification of the Subject Insurance Policy
13
            4.1       Travelers issued a commercial general liability insurance policy to NAT and
14
     RCC under policy number Y-630-6F055289-TIL-18 for the one-year period of March 15, 2018
15
     to March 15, 2019 (“the Subject Policy”).
16
     B.     Provisions of The Subject Policy
17
            4.2       The Commercial General Liability coverage part contained in the Subject Policy
18
     contains the following Insuring Agreement:
19
                      SECTION I -COVERAGES
20                    COVERAGE A BODILY INJURY AND PROPERTY
                      DAMAGE LIABILITY
21
                      1.      Insuring Agreement
22
                              a.     We will pay those sums that the insured becomes
23                                   legally obligated to pay as damages because of
                                     “bodily injury” or “property damage” to which this
24
     COMPLAINT FOR DECLARATORY RELIEF – 5                               LETHER & ASSOCIATES PLLC
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 1                           insurance applies. We will have the right and duty
                             to defend the insured against any “suit” seeking
 2                           those damages. However, we will have no duty to
                             defend the insured against any “suit seeking
 3                           damages for “bodily injury” or “property damage”
                             to which this insurance does not apply. We may, at
 4                           our discretion, investigate any “occurrence” and
                             settle any claim or “suit” that may result. But:
 5
                             (1)    The amount we will pay for damages is
 6                                  limited as described in Section III Limits Of
                                    Insurance; and
 7                           (2)    Our right and duty to defend ends when we
                                    have used up the applicable limit of
 8                                  insurance in the payment of judgments or
                                    settlements under Coverages A or B or
 9                                  medical expenses under Coverage C.

10                           No other obligation or liability to pay sum or
                             perform acts or services is covered unless explicitly
11                           provided for under Supplementary Payments
                             Coverages A and B.
12
                       b.    This insurance applies to “bodily injury” and
13                           “property damage” only if:

14                           (1)    The “bodily injury” or “property damage” is
                                    caused by an “occurrence” that takes place
15                                  in the “coverage territory”;

16                           (2)    The “bodily injury” or “property damage”
                                    occurs during the policy period;
17
                             (3)    Prior to the policy period, no insured listed
18                                  under Paragraph 1. of Section II – Who Is
                                    An Insured and no “employee” authorized
19                                  by you to give or receive notice of an
                                    “occurrence” or claim, knew that the
20                                  “bodily injury” or “property damage” had
                                    occurred, in whole or in part. If such a listed
21                                  insured or authorized “employee” knew,
                                    prior to the policy period, that the “bodily
22                                  injury” or “property damage” occurred, then
                                    any continuation, change or resumption of
23                                  such “bodily injury” or “property damage”
                                    during or after the policy period will be
24
     COMPLAINT FOR DECLARATORY RELIEF – 6                       LETHER & ASSOCIATES PLLC
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 1                                        deemed to have been known prior to the
                                          policy period.
 2
                             c.    “Bodily injury” or “property damage” which
 3                                 occurs during the policy period and was not, prior
                                   to the policy period, known to have occurred by
 4                                 any insured listed under Paragraph 1. Of section II
                                   – Who is an Insured or any “employee” authorized
 5                                 by you to give or receive notice of an “occurrence”
                                   or claim, includes any continuation, change or
 6                                 presumption of that “bodily injury” or “property
                                   damage” after the end of the policy period
 7
                             d.    “Bodily injury” or “property damage” will be
                                   deemed to have been known to have occurred at the
 8
                                   earliest time when any insured listed under
                                   Paragraph 1. of Section II – Who Is An Insured or
 9
                                   any “employee” authorized by you to give or
                                   receive notice of an “occurrence” or claim:
10
                                   (1)    Reports all, or any part, of the “bodily
11
                                          injury” or “property damage” to us or any
                                          other insurer;
12
                                   (2)    Receives a written or verbal demand or
13
                                          claim for damages because of the “bodily
                                          injury” or “property damage”; or
14
                                   (3)    Becomes aware by any other means that
15
                                          “bodily injury” or “property damage” has
                                          occurred or has begun to occur.
16
                         ...
17
     CG 00 01 10 01, p. 1.
18
            4.3    The Subject Policy contain the following definitions that are applicable to the
19
     foregoing Insuring Agreement.
20
                   SECTION V – DEFINITIONS
                   ...
21
                   13.  “Occurrence” means an accident, including continuous or
                        repeated exposure to substantially the same general
22
                        harmful conditions.
                   ...
23
                   17.       “Property damage” means:
24
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 1
                         a.     Physical injury to tangible property, including all
 2                              resulting loss of use of that property. All such loss
                                of use shall be deemed to occur at the time of the
 3                              physical injury that caused it; or

 4                       b.     Loss of use of tangible property that is not
                                physically injured. All such loss of use shall be
 5                              deemed to occur at the time of the “occurrence”
                                that caused it.
 6
                         “Property damage” does not include loss or damage to
 7                       “electronic media and records”.
                  ...
 8
                  18.    “Suit” means a civil proceeding in which damages because
                         of "bodily injury", "property damage" or "personal and
 9
                         advertising injury" to which this insurance applies are
                         alleged. "Suit" includes:
10
                         a.     An arbitration proceeding in which such damages
11
                                are claimed and to which the insured must submit
                                or does submit with our consent; or
12
                         b.     Any other alternative dispute resolution proceeding
13
                                in which such damages are claimed and to which
                                the insured submits with our consent.
14
     CG 00 01 10 01, pp.14-15, as modified by CG D2 56 11 03.
15
           4.4    The Subject Policy contains the following exclusions and applicable definitions:
16
                  b.     Contractual Liability
17
                         "Bodily injury" or "property damage" for which the
18
                         insured is obligated to pay damages by reason of the
                         assumption of liability in a contract or agreement. This
19
                         exclusion does not apply to liability for damages:
20
                         (1)    That the insured would have in the absence of the
                                contract or agreement; or
21
                         (2)    Assumed in a contract or agreement that is an
22
                                "insured contract", provided the "bodily injury"
                                or "property damage" occurs subsequent to the
23
                                execution of the contract or agreement. Solely for
                                the purposes of liability assumed by you in an
24
     COMPLAINT FOR DECLARATORY RELIEF – 8                           LETHER & ASSOCIATES PLLC
25                                                              1848 WESTLAKE AVENUE N, SUITE 100
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 1                                  "insured contract", reasonable attorney fees and
                                    necessary litigation expenses incurred by or for a
 2                                  party other than an insured will be deemed to be
                                    damages because of "bodily injury" or "property
 3                                  damage", provided that:

 4                                  (a)    Liability to such party for, or for the cost
                                           of, that party's defense has also been
 5                                         assumed in the same “insured contract";
                                           and
 6
                                    (b)    Such attorney fees and litigation expenses
 7                                         are for defense of that party against a civil
                                           or alternative dispute resolution proceeding
 8                                         in which damages to which this insurance
                                           applies are alleged.
 9
     CG 00 01 10 01, p. 2.
10
                   SECTION V – DEFINITIONS
11                 ...
                   9.   "Insured contract" means:
12                      ...
                        f.     That part of any other contract or agreement
13                             pertaining to your business (including an
                               indemnification of a municipality in connection
14                             with work performed for a municipality) under
                               which you assume the tort liability of another party
15                             to pay for “property damage” to a third person or
                               organization. Tort liability means a liability that
16                             would be imposed by law in the absence of any
                               contract or agreement….
17
     CG 00 01 10 01, p. 13.
18
                   j.        Damage To Property
19
                             "Property damage" to:
20                           ...

21                           (5)    That particular part of real property on which you
                                    or any contractors or subcontractors working
22                                  directly or indirectly on your behalf are performing
                                    operations, if the “property damage” arises out of
23                                  those operations; or

24
     COMPLAINT FOR DECLARATORY RELIEF – 9                             LETHER & ASSOCIATES PLLC
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 1                        (6)    That particular part of any property that must be
                                 restored, repaired or replaced because "your work"
 2                               was incorrectly performed on it.
                                 …
 3
                          Paragraph (6) of this exclusion does not apply to
 4                        “property damage” included in the “products completed
                          operations hazard”.
 5
     CG 00 01 10 01, p. 4-5.
 6
                   SECTION V – DEFINITIONS
 7                 ...

 8                 16.    "Products-completed operations hazard":

 9                        a.     Includes all "bodily injury" and "property damage"
                                 occurring away from premises you own or rent and
10                               arising out of "your product" or "your work" except:

11                               (1)    Products that are still in your physical
                                        possession; or
12
                                 (2)    Work that has not yet been completed or
13                                      abandoned. However, "your work" will be
                                        deemed completed at the earliest of the
14                                      following times:

15                                      (a)    When all of the work called for in
                                               your contract has been completed.
16
                                        (b)    When all of the work to be done at
17                                             the job site has been completed if
                                               your contract calls for work at more
18                                             than one job site.

19                                      (c)    When that part of the work done at a
                                               job site has been put to its intended
20                                             use by any person or organization
                                               other than another contractor or
21                                             subcontractor working on the same
                                               project.
22
                                        Work that may need service, maintenance,
23                                      correction, repair or replacement, but which

24
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25                                                             1848 WESTLAKE AVENUE N, SUITE 100
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 1                                         is otherwise complete, will be treated as
                                           completed.
 2
     CG 00 01 10 01, p. 14.
 3
                   k.        Damage To Your Product
 4
                             “Property damage” to “your product” arising out of it or
 5                           any part of it.

 6   CG 00 01 10 01, p. 5.

 7                 l.        Damage To Your Work

 8                           “Property damage” to “your work” arising out of it or any
                             part of it and included in the “products-completed
 9                           operations hazard”.

10                           This exclusion does not apply if the damaged work or the
                             work out of which the damage arises was performed on
11                           your behalf by a sub-contractor.

12   CG 00 01 12 04, p. 5.

13                 m.        Damage To Impaired Property Or Property Not
                             Physically Injured
14
                             “Property damage” to “impaired property” or property that
15                           has not been physically injured, arising out of:

16                           (1)    A defect, deficiency, inadequacy or dangerous
                                    condition in “your product” or “your work”; or
17
                             (2)    A delay or failure by you or anyone acting on your
18                                  behalf to perform a contract or agreement in
                                    accordance with its terms.
19
                             This exclusion does not apply to the loss of use of other
20                           property arising out of sudden and accidental physical
                             injury to “your product” or “your work” after it has been
21                           put to its intended use.

22   CG 00 01 12 04 p. 5.

23                 SECTION V – DEFINITIONS
                   ...
24
     COMPLAINT FOR DECLARATORY RELIEF – 11                           LETHER & ASSOCIATES PLLC
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 1
                 8.    “Impaired property” means tangible property, other than
 2                     “your product” or “your work”, that cannot be used or is
                       less useful because:
 3
                       a.     It incorporates “your product” or “your work” that
 4                            is known or thought to be defective, deficient,
                              inadequate or dangerous; or
 5
                       b.     You have failed to fulfill the terms of a contract or
 6                            agreement;

 7                     if such property can be restored to use by:

 8                     a.     The repair, replacement, adjustment or removal of
                              “your product” or “your work”; or
 9
                       b.      Your fulfilling the terms of the contract or
10                             agreement.
                              ...
11
                 21.   “Your Product”:
12
                       a.     Means:
13
                              (1)      Any goods or products, other than real
14                                     property, manufactured, sold, handled,
                                       distributed or disposed of by:
15
                                       (a)    You;
16
                                       (b)    Others trading under your name; or
17
                                       (c)    A person or organization whose
18                                            business or assets you have
                                              acquired; and
19                                            ...

20                     b.     Includes:

21                            (1)      Warranties or representations made at any
                                       time with respect to the fitness, quality,
22                                     durability, performance or use of “your
                                       product”; and
23

24
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 1                                  (2)      The providing of or failure to provide
                                             warnings or instructions.
 2                           ...
                   22.       "Your work":
 3
                             a.     Means:
 4
                                    (1)      Work or operations performed by you or on
 5
                                             your behalf; and
 6
                                    (2)      Materials, parts or equipment furnished in
                                             connection with such work or operations.
 7
                             b.     Includes:
 8
                                    (1)      Warranties or representations made at any
 9
                                             time with respect to the fitness, quality,
                                             durability, performance or use of "your
10
                                             work", and
11
                                    (2)      The providing of or failure to provide
                                             warnings or instructions.
12
     CG 00 01 10 01, p. 13, 15.
13
                   n.        Recall of Products, Work or Impaired Property
14
                             Damages claimed for any loss, cost or expense incurred by
15
                             you or others for the loss of use, withdrawal, recall,
                             inspection, repair, replacement, adjustment, removal or
16
                             disposal of:
17
                             (1)    “Your product”;
                             (2)    “Your work”; or
18
                             (3)    “Impaired property”’
19
                             if such product, work, or property is withdrawn or recalled
                             from the market or from use by any person or organization
20
                             because of a known or suspected defect, deficiency,
                             inadequacy or dangerous condition in it.
21
     CG 00 01 10 01, p. 5.
22

23

24
     COMPLAINT FOR DECLARATORY RELIEF – 13                            LETHER & ASSOCIATES PLLC
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 1          4.5     The Subject Policy also contains the following conditions that may be applicable

 2   to the subject claim:

 3                  2.       Duties In The Event of Occurrence, Offense, Claim Or
                             Suit
 4
                             a.    You must see to it that we are notified as soon as
 5                                 practicable of an “occurrence” or an offence which
                                   may result in a claim. To the extent possible, notice
 6                                 should include:

 7                                 (1)    How, when and where the “occurrence” or
                                          offense took place;
 8
                                   (2)    The names and addresses of any injured
 9                                        persons or witnesses; and

10                                 (3)    The nature and location of any injury or
                                          damage arising out of the “occurrence” or
11                                        offense.

12                           b.    If a claim is made or “suit” is brought against any
                                   insured, you must:
13
                                   (1)    Immediately record the specifics of the
14                                        claim or “suit” and the date received; and

15                                 (2)    Notify us as soon as practicable.

16                                 You must see to it that we receive written notice of
                                   the claim or “suit” as soon as practicable.
17
                             c.    You and any other insured must:
18
                                   (1)    Immediately send us copies of any demands,
19                                        notices, summonses or legal papers received
                                          in connection with the claim or “suit”;
20
                                   (2)    Authorize us to obtain records and other
21                                        information;

22                                 (3)    Cooperate with us in the investigation or
                                          settlement of the claim or defense against
23                                        the “suit”; . . .

24
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 1                        d.     No insured will, except at that insured’s own cost,
                                 voluntarily make a payment, assume any obligation,
 2                               or incur any expense, other than for first aid,
                                 without our consent.
 3
                          e.     The following provisions apply to Paragraph a.
 4                               above, but only for purposes of the insurance
                                 provided under this Coverage Part to you or any
 5                               insured listed in Paragraph 1. Or 2. Of Section II –
                                 Who Is An Insured:
 6
                                 (1)    Notice to us of such “occurrence” or offense
 7                                      must be given as soon as practicable only
                                        after the “occurrence” or offense is known
 8                                      to you (if you are an individual), any of your
                                        partners or members who is an individual (if
 9                                      you are a partnership), any of your managers
                                        who is an individual (if you are a limited
10                                      liability company), any of your trustees who
                                        is an individual (if you are a trust), any of
11                                      your “executive officers” or directors (if you
                                        are an organization other than a partnership,
12                                      joint venture, limited liability company of
                                        trust) or any employee authorized by you to
13                                      give notice of an “occurrence” or offense.

14   CG 00 01 10 01, pp. 10-11, as modified by CG D4 58 07 13, p. 6.

15                 4.     Other Insurance

16                        If other valid and collectible insurance is available to the
                          insured for a loss we cover under Coverages A or B of this
17                        Coverage Part, our obligations are limited as follows:

18                        a.     Primary Insurance

19                               This insurance is primary except when Paragraph b.
                                 below applies. If this insurance is primary, our
20                               obligations are not affected unless any of the other
                                 insurance is also primary. Then, we will share with all
21                               the other insurance by the method described in
                                 Paragraph c. below.
22
                                 However, if you specifically agree in a written contract
23                               or written agreement that the insurance provided to an
                                 additional insured under this Coverage Part must apply
24
     COMPLAINT FOR DECLARATORY RELIEF – 15                         LETHER & ASSOCIATES PLLC
25                                                             1848 WESTLAKE AVENUE N, SUITE 100
                                                                        SEATTLE, WA 98109
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 1                           on a primary basis, or a primary and non-contributory
                             basis, this insurance is primary to other insurance that
 2                           is available to such additional insured which covers
                             such additional insured as a named insured, and we
 3                           will not share with that other insurance, provided that:

 4                           a.     The “bodily injury” or “property damage” for
                                    which coverage is sought occurs; and
 5
                             b.     The “personal injury” or “advertising injury”
 6                                  for which coverage is sought arises out of an
                                    offense committed subsequent to the signing
 7                                  and execution of that contract or agreement by
                                    you.
 8
                       b.    Excess Insurance
 9
                             This insurance is excess over:
10
                             (1)    Any of the other insurance, whether primary,
11                                  excess, contingent or on any other basis:

12                                  (a)      That is Fire, Extended Coverage,
                                             Builder’s Risk, Installation Risk or
13                                           similar coverage for “your work”;

14                                  (b)      That is Fire insurance for premises
                                             rented to you or temporary occupied by
15                                           you with permission of the owner;

16                                  (c)      That is insurance purchased by you to
                                             cover your liability as a tenant for
17                                           “property damage” to premises rented
                                             to you or temporarily occupied by you
18                                           with permission of the owner; or

19                                  (d)      If the loss arises out of the maintenance
                                             or use of aircraft, “autos” or watercraft
20                                           to the extent no subject to Exclusion g.
                                             of Section I – Coverage A – Bodily
21                                           Injury and Property Damage Liability.

22                                  (e)      That is available to the insured when the
                                             insured is added as an additional
23                                           insured under any other policy,

24
     COMPLAINT FOR DECLARATORY RELIEF – 16                        LETHER & ASSOCIATES PLLC
25                                                            1848 WESTLAKE AVENUE N, SUITE 100
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 1                                              including any umbrella or excess
                                                policy.
 2
                                 When this insurance is excess, we will have no duty
 3                               under Coverages A or B to defend the insured against
                                 any “suit” if any other insurer has a duty to defend the
 4                               insured against that “suit”. If no other insurer defends,
                                 we will undertake to do so, but we will be entitled to
 5                               the insured’s rights against all those other insurers.

 6                               When this insurance is excess over other insurance, we
                                 will pay only our share of the amount of the loss, if
 7                               any, that exceeds the sum of:

 8                               (1)     The total amount that all such other insurance
                                         would pay for the loss in the absence of this
 9                                       insurance; and

10                               (2)     The total of all deductible and self-insured
                                         amounts under all that other insurance.
11
                                 We will share the remaining loss, if any, with any
12                               other insurance that is not described in this Excess
                                 Insurance provision and was not bought specifically to
13                               apply in excess of the Limits of Insurance shown in the
                                 Declarations of this Coverage Part.
14
                          c.     Method of Sharing
15
                                 If all of the other insurance permits contribution by
16                               equal shares, we will follow this method also. Under
                                 this approach each insurer contributes equal amounts
17                               until it has paid its applicable limit of insurance or
                                 none of the loss remains, whichever comes first.
18
                                 If any of the other insurance does not permit
19                               contribution by equal shares, we will contribute by
                                 limits. Under this method, each insurer’s share is based
20                               on the ratio of its applicable limit of insurance to the
                                 total applicable limits of insurance of all insurers.
21
     CG 00 01 040 13 at p. 12, as modified by CG D0 37 04 05.
22
            4.6    The Subject Policy also contains an endorsement that provides as follows:
23

24
     COMPLAINT FOR DECLARATORY RELIEF – 17                          LETHER & ASSOCIATES PLLC
25                                                              1848 WESTLAKE AVENUE N, SUITE 100
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 1                 AMENDMENT- NON CUMULATION OF EACH
                   OCCURRENCE LIMIT OF LIABILITY and NON
 2                 CUMULATION OF PERSONAL and ADVERTISING
                   INJURY LIMIT
 3
                   This endorsement modifies insurance provided under the
 4                 following:

 5                 COMMERCIAL GENERAL LIABILITY COVERAGE PART

 6                 1.     Paragraph 5 of SECTION III - LIMITS                     OF
                          INSURANCE, is amended to include the following:
 7
                          Non cumulation of Each Occurrence Limit - If one
 8                        "occurrence" causes "bodily injury" and/or "property
                          damage" during the policy period and during the policy
 9                        period of one or more prior and/or future policies that
                          include a commercial general liability coverage part for
10                        the insured issued by us or any affiliated insurance-
                          company, the amount we will pay is limited. This policy’s
11                        Each Occurrence Limit will be reduced by the amount of
                          each payment made by us and any affiliated insurance
12                        company under the other policies because of such
                          "occurrence".
13                        ...

14   CG D2 03 12 97.

15          4.7    The Subject Policy also contains an endorsement that provides as follows:

16                 B.     If we initially defend and insured (“insured”) or pay for
                          an insured’s (“insured’s”) defense but later determine that
17                        none of the claims (“claims”), for which we provided a
                          defense or defense costs, are covered under this insurance,
18                        we have the right to reimbursement for the defense costs
                          we have incurred.
19
                          The right to reimbursement under this provision will only
20                        apply to the costs we have incurred after we notify you in
                          writing that there may not be coverage and that we are
21                        reserving our rights to terminate the defense or payment
                          of defense costs and to seek reimbursement for defense
22                        costs.

23   IL 01 23 11 13.

24
     COMPLAINT FOR DECLARATORY RELIEF – 18                          LETHER & ASSOCIATES PLLC
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 1             4.8     In accordance with applicable law, Travelers now brings this claim for

 2   Declaratory Judgment seeking a judicial determination that it does not owe any coverage

 3   obligation to NAT or RCC for the claims asserted in the 13 Coins Restaurant claim.

 4       V.          NO INDEMNITY OR DEFENSE COVERAGE UNDER THE POLICIES

 5             5.1     The Policies provide coverage only for “property damage” caused by an

 6   “occurrence”, as those terms are defined by the Policies, provided that any such “property

 7   damage” occurs during the policy period and NAT nor RCC did not know, in whole or in part,

 8   about the alleged “property damage” prior to the inception of any applicable policy period.

 9             5.2     There is an actual and justiciable controversy as to whether the claims against

10   NAT and RCC involve claims for “property damage” as that term is defined.

11             5.3     There is an actual and justiciable controversy as to whether of the claims against

12   NAT and RCC involve an “occurrence” as that term is defined by the Subject Policy.

13             5.4     There is an actual and justiciable controversy as to whether the alleged liability

14   of NAT and RCC is for “property damage” caused by any covered “occurrence.”

15             5.5     There is an actual and justiciable controversy as to whether any “property

16   damage” that was allegedly caused by a covered “occurrence” occurred during any policy

17   period.

18             5.6     There is an actual and justiciable controversy as to whether NAT and RCC had

19   knowledge, in whole or in part, of any alleged “property damage” prior to the inception of the

20   policy periods.

21             5.7     Pursuant to the Subject Policy, coverage is excluded for liability for “property

22   damage” to that particular part of real property on which an insured or its contractors or

23   subcontractors worked directly or indirectly for the insured’s operations if the “property

24
     COMPLAINT FOR DECLARATORY RELIEF – 19                               LETHER & ASSOCIATES PLLC
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 1   damage” arose out of those operations.

 2           5.8    There is an actual and justiciable controversy as to whether the claims against

 3   NAT and RCC involve liability for “property damage” to that particular part of real property on

 4   which NAT and RCC, or its contractors or subcontractors, worked directly or indirectly for its

 5   operations and if said “property damage” arose out of those operations.

 6           5.9    Pursuant to the Subject Policy, coverage is excluded for liability for “property

 7   damage” to the insured’s “your product”.

 8           5.10   There is an actual and justiciable controversy as to whether the claims against

 9   NAT and RCC involve liability for “property damage” to NAT’s and RCC’s product.

10           5.11   Pursuant to the Subject Policy, coverage is excluded for liability for “property

11   damage” to the insured’s “your work”.

12           5.12   There is an actual and justiciable controversy as to whether the claims against

13   NAT and RCC involve liability for “property damage” to NAT’s and RCC’s work.

14           5.13   Pursuant to the Subject Policy, coverage is precluded for “property damage” to

15   “impaired property” or other property that has not been physically injured arising out of a

16   defect, deficiency, inadequacy or dangerous condition in the insured’s product or the insured’s

17   work.

18           5.14   There is an actual and justiciable controversy as to whether any alleged

19   “property damage” to any allegedly “impaired property” or other property that has not been

20   physically injured arises out of a defect, deficiency, inadequacy or other dangerous condition in

21   NAT’s and RCC’s work or product.

22           5.15   Pursuant to the Subject Policy, coverage is excluded for “property damage” to

23   “impaired property” or other property that has not been physically injured arising out of a delay

24
     COMPLAINT FOR DECLARATORY RELIEF – 20                            LETHER & ASSOCIATES PLLC
25                                                                1848 WESTLAKE AVENUE N, SUITE 100
                                                                           SEATTLE, WA 98109
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 1   or failure by an insured or anyone acting on the insured’s behalf to perform a contract or

 2   agreement in accordance with the terms of the contract or agreement.

 3           5.16    There is an actual and justiciable controversy as to whether any alleged

 4   “property damage” to any allegedly “impaired property” or other property that has not been

 5   physically injured arises out of a delay caused by NAT or RCC or a failure by NAT and RCC

 6   to perform a contract or agreement in accordance with the terms of the contract or agreement

 7   related to the Project.

 8           5.17    Pursuant to the Subject Policy, coverage is excluded for liability arising from

 9   property that must be restored, repaired, or replaced because the insured’s work was incorrectly

10   performed on it prior to the completion of the insured’s work.

11           5.18    There is an actual and justiciable controversy as to whether the claims against

12   H.D. Fowler involve liability arising from property that must be restored, repaired, or replaced

13   because NAT’s or RCC’s work was incorrectly performed on it prior to the completion of the

14   insured’s work.

15           5.19    Pursuant to the Subject Policy, coverage is excluded for liability arising from

16   damages claimed for any loss, cost or expense incurred by NAT and RCC or others for the loss

17   of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of

18   “your product”, “your work”, or “impaired property” if such product, work, or property is

19   withdrawn or recalled from the market or from use by any person or organization because of a

20   known or suspected defect, deficiency, inadequacy or dangerous condition in it.

21           5.20    There is an actual and justiciable controversy as to whether the claims against

22   NAT and RCC involve liability for damages claimed for any loss, cost or expense incurred for

23   the loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or

24
     COMPLAINT FOR DECLARATORY RELIEF – 21                           LETHER & ASSOCIATES PLLC
25                                                               1848 WESTLAKE AVENUE N, SUITE 100
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 1   disposal of “your product”, “your work”, or “impaired property” that has been withdrawn or

 2   recalled from the market or from use by any person or organization because of a known or

 3   suspected defect, deficiency, inadequacy or dangerous condition in it.

 4          5.21    Pursuant to the non-cumulation provisions of the Subject Policy, any payment

 5   by Travelers under any policy for any “occurrence” will reduce the limit of each successive

 6   policy issued by Travelers by the amount of any such payment for that “occurrence”.

 7          5.22    To the extent that a progressive loss alleged, there is an actual and justiciable

 8   controversy as to whether any potential coverage available under the Subject Policy would

 9   limit Travelers’ obligations to a single policy period.

10          5.23    Pursuant to the Subject Policy, NAT and RCC are required to comply with

11   certain terms and conditions as a condition precedent to coverage.

12          5.24    There is an actual and justiciable controversy as to whether NAT and RCC

13   complied with the cooperation provisions in the Policies and whether any failure to comply on

14   the part of NAT and RCC prejudiced Travelers.

15          5.25    Pursuant to the Subject Policy, an insured may not, except at its own expense,

16   incur any expense or obligation without the consent of Travelers.

17          5.26    Travelers did not consent to NAT and/or RCC incurring any expense or

18   obligation.

19          5.27    There is an actual and justiciable controversy as to whether NAT and/or RCC

20   have voluntarily incurred any expenses or obligation without the consent of Travelers and

21   whether having incurred such expense or obligation may have prejudiced Travelers.

22          5.28    The Subject Policy provides that Travelers is entitled to reimbursement of any

23   defense costs that it incurs for claims that it is ultimately determined are not covered pursuant

24
     COMPLAINT FOR DECLARATORY RELIEF – 22                            LETHER & ASSOCIATES PLLC
25                                                                1848 WESTLAKE AVENUE N, SUITE 100
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 1   to the terms and conditions of the Subject Policy.

 2          5.29    There is an actual and justiciable controversy as to whether Travelers is entitled

 3   to any defense costs that it has incurred or that it may incur in the future in defending claims for

 4   which there is no coverage available under the Subject Policy.

 5          5.30    Travelers reserves the right to assert any other exclusions or grounds for which

 6   coverage for the claims against NAT and RCC may be excluded under the Policies.

 7                  VI.     CAUSE OF ACTION FOR DECLARATORY RELIEF

 8          6.1     Actual and justiciable controversies exist as to whether any defense coverage is

 9   available to NAT and RCC under the Policy as set forth above.

10          6.2     Pursuant to and in accordance with 28 U.S.C. § 2201, Travelers requests that the

11   Court grant declaratory relief in favor of Travelers and enter a judicial determination that

12   Travelers does not have an obligation to provide a defense to NAT and RCC in regard to the 13

13   Coins Restaurant claim.

14          6.3     Actual and justiciable controversies exist as to whether any indemnity coverage

15   is available to NAT and RCC under the Policies in regard to the claims related to the

16   Underlying Lawsuit.

17          6.4     Pursuant to and in accordance with 28 U.S.C. § 2201, Travelers requests that the

18   Court grant declaratory relief in favor Travelers and enter a judicial determination that

19   Travelers does not have an obligation to provide any indemnity coverage to NAT and RCC in

20   regard to the claims arising from the 13 Coins Restaurant claim.

21          6.5     To the extent that there is defense coverage available to NAT and RCC under

22   the Policy, there is an actual and justiciable controversy as to whether such coverage is primary

23   or excess.

24
     COMPLAINT FOR DECLARATORY RELIEF – 23                              LETHER & ASSOCIATES PLLC
25                                                                  1848 WESTLAKE AVENUE N, SUITE 100
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 1             6.6   To the extent that the Court determines that there is coverage available to NAT

 2   and RCC under the Policies, pursuant to 28 U.S.C. § 2201, Travelers requests that the Court

 3   grant declaratory relief in favor of it and enter a judicial determination that such coverage is

 4   excess over any other coverage provided to NAT and RCC under any other policy of insurance.

 5                                  VII.    PRAYER FOR RELIEF

 6             WHEREFORE, Travelers Property Casualty Company of America having specifically

 7   alleged the foregoing, now prays for the following relief:

 8             7.1   For a declaration of the rights and obligations of the parties hereto under the

 9   Policy.

10             7.2   For a declaration that there is no duty to defend NAT and RCC under the

11   Policy.

12             7.3   For a declaration that there is no duty to indemnify NAT and RCC under the

13   Subject Policy.

14             7.4   For a judicial declaration that NAT and RCC are bound by any judicial

15   declarations in this matter involving the Subject Policy.

16             7.5   To the extent allowed by applicable law, for reimbursement of any and all

17   defense costs, fees, or expenses incurred by Travelers in defending any entity or person in the

18   13 Coins Restaurant claim who claims to be an insured under the Policy for which there is no

19   defense obligation.

20             7.6   For all pre-judgment and post-judgment interest as allowed by applicable law.

21   \\

22   \\

23

24
     COMPLAINT FOR DECLARATORY RELIEF – 24                            LETHER & ASSOCIATES PLLC
25                                                                1848 WESTLAKE AVENUE N, SUITE 100
                                                                           SEATTLE, WA 98109
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 1         7.7    For attorney fees and costs allowed by applicable statute and law.

 2         7.8    For other and further relief as the Court deems just and equitable.

 3         DATED this 26th day of July, 2019.

 4                                                  LETHER & ASSOCIATES, PLLC

 5                                                  s/ Thomas Lether
                                                    s/ Eric Neal
 6                                                  Thomas Lether, WSBA #18089
                                                    Eric J. Neal, WSBA#31863
 7                                                  1848 Westlake Ave N., Suite 100
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 8                                                  P: 206-467-5444 / F: 206-467-5544
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 9                                                  tlether@letherlaw.com
                                                    Counsel for Travelers Property Casualty
10                                                  Company of America and The Phoenix
                                                    Insurance Company
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     COMPLAINT FOR DECLARATORY RELIEF – 25                          LETHER & ASSOCIATES PLLC
25                                                              1848 WESTLAKE AVENUE N, SUITE 100
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